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                                          UNITED STATES DISTRICT
                                        COURT SOUTHERN DISTRICT OF
                                                 FLORIDA

                                                      MIAMI DIVISION

                                             CASE NO.: 1:20-cv-22724-DPG

   JUAN NIEVES                                                                   )
                                                                                 )
                         Plaintiff                                               )
                                                                                 )
            v.                                                                   )
                                                                                 )
   CHARLOTTE BURROWS,                                                            )
   CHAIR OF THE EQUAL EMPLOYMENT                                                 )
   OPPORTUNITY COMMISSION                                                        )

                         Defendant
                                                                             /

                                        SECOND AMENDED COMPLAINT
                                          WITH JURY TRIAL DEMAND

                                              NATURE OF THE ACTION

              This is an action under Title VII of the Civil Rights Act of 1964 and Title I of the

   Civil Rights Act of 1991 to correct unlawful discrimination in federal employment practices

   on the basis of sex and retaliation, and to provide appropriate relief to Plaintiff Juan Nieves.

              As alleged with greater particularity below, Plaintiff JUAN NIEVES

   (“PLAINTIFF” and/or “Plaintiff NIEVES”) alleges that he was subjected to ongoing

   harassment (sexual and non-sexual) and a hostile work environment by the Chair of the

   Equal         Employment           Opportunity           Commission               Charlotte     Burrows          (“Defendant

   BURROWS) when Defendant was aware of and permitted Enforcement Supervisor

   Kathryine Gonzalez (“Supervisor Gonzalez”) to discriminate against Plaintiff on the basis

   of sex (male), from July of 2016 through March of 2020. Additionally, Defendants

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   retaliated against Plaintiff NIEVES for opposing such practices by, in part, refusing to

   investigate the claims, withholding promotions, changing his schedule, and frustrating his

   workload and taking actions that threatened his employment.

                                          JURISDICTION AND VENUE

          1.           Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,

  1337, and 1343. This action is authorized and instituted pursuant to Sections 706(f)(1) and

  (3), and Section 717(c) of Title VII of the Civil Rights Act of 1964, as amended, codified at

  42 U.S.C.A. Section 2000e-16(c), 2000e-5(f)(1) and (3) et seq. (“Title VII”) and section 102

  of the Civil Rights Act of 1991, as amended, codified at 42 U.S.C.A. Section 1981, et seq.;

  and Section 501 of the Rehabilitation Act of 1973, as amended, 29 U.S.C.A. Section 791, the

  Civil Rights Attorney’s Award Act, as amended, codified at 42 U.S.C.A. Section 1988, et

  seq.

          2.           Venue is proper in the United State District Court for the Southern District

  of Florida, Miami Division, pursuant to 42 U.S.C., 2000e-5(f)(3). In addition, venue is proper

  herein as the primary actions complained of either occurred within or were directed within

  the geographical boundaries of the Miami, Florida (Southern District of Florida); and

  pursuant to 28 U.S.C. Section 1391(e).

                                                           PARTIES
          3.           Plaintiff NIEVES is a Hispanic male currently domiciled in Miami, Florida,

  and who for all times relevant herein has been employed on a full-time basis as an employee

  of the United States Equal Employment Opportunity Commission (“EEOC”). At those times

  relevant to the subject of this lawsuit, Plaintiff NIEVES was assigned for his professional

  work to the Miami District Office, a field office within the Miami District of the EEOC

  located at 100 SE 2nd Street, Suite 1500, Miami, FL 33131 (“MIDO”).
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          4.           At all relevant times, Defendant has continuously been a Federal Agency doing

  business in the State of Florida and within the City of Miami and has continuously had at least 15

  employees. At those times relevant to the subject of this lawsuit, Plaintiff NIEVES was employed

  by and assigned for his professional work MIDO.

          5.           Defendant BURROWS is the Chair of the EEOC and, as such, is the Defendant

  only in her official capacity as the Chair of the Defendant EEOC. Defendant BURROWS is the

  senior Executive Branch federal official responsible for the actions of the United States Equal

  Employment Opportunity Commission, which is the principal subject of the allegations made

  herein, and which is located at 131 M St. NE, 6th Floor, Washington, DC 20507.

      EXHAUSTION OF ADMINISTRATIVE REMEDIES/CONDITIONS PRECEDENT
          6.           From approximately July of 2016 to March of 2020, Plaintiff NIEVES suffered

  from continuing violations and discrimination by Defendants as outlined in more detail herein.

          7.           At all times material hereto, Plaintiff NIEVES was misled by Defendants into

  allowing any applicable statutory periods to lapse.

          8.           Plaintiff NIEVES advised the EEOC of complaints of unlawful sexual

  harassment, discrimination based on sex and retaliation since approximately 2016.

          9.           On or about November 3, 2017, Plaintiff NIEVES timely initiated the involvement

  of the Equal Employment Opportunity (EEO) Office

          10.            On or about February 22, 2018, Plaintiff NIEVES was issued the Notice of Right

  to File a Formal Complaint. Plaintiff NIEVES timely filed a formal EEO complaint.

          11.            On or about March 2, 2018, Plaintiff NIEVES timely filed his formal EEO

  Complaint.

          12.          More than thirty (30) days prior to the institution of this lawsuit, Plaintiff NIEVES

  filed a charge with the Commission alleging violations of Title VII by Defendant EEOC.
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          13.          Plaintiff submitted charges of discrimination to Defendant EEOC within 180 days

  of the discrimination against them.

          14.          Prior to the institution of this lawsuit, Defendant EEOC and Defendant

  BURROWS issued a Final Agency Decision (“FAD”) on April 3, 2020.

          15.          Prior to the institution of this lawsuit, Defendant EEOC, Defendant BURROWS

  and/or representatives failed/refused to attempt to eliminate the unlawful employment practices

  alleged below and to effect Defendant’s voluntary compliance with Title VII through informal

  methods of conciliation, conference, and persuasion within the meaning of Section 706(b) of Title

  VII, 42 U.S.C. Sections 2000e-5(b).

          16.          Thus, all conditions precedent to bringing this action have been performed or

  occurred.

                                                 STATEMENT OF FACTS
          17.          In July 2015, Plaintiff Juan Nieves (male) was hired by the Memphis District Office

  (MEDO) of the U.S. Equal Employment Opportunity Commission. in July 2015.

          18.          In June 2016, Complainant requested and was granted hardship transfer to the

  Miami District Office (MIDO) and started work as an Investigator in MIDO in July 2016.

            A. Harassment

          19.        Plaintiff worked under the supervision of Katherine Gonzalez when he started at

  MIDO in July 2016 through November 2017.

          20.        Plaintiff NIEVES was subjected to ongoing harassment (sexual and non-sexual)

  and a hostile work environment by Supervisor Katherine Gonzalez (“Supervisor GONZALEZ”),

  a former MIDO Enforcement Supervisor and Defendants, on the bases of sex (male); national origin

  (Hispanic) and disability (post-traumatic stress disorder and/or major depressive and anxiety


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  disorder (collectively, PTSD) from 2016 to March of 2020.

          21.        Plaintiff NIEVES was subjected to unwanted, unsolicited sexual advances by

  Supervisor GONZALEZ. Indeed, Supervisor GONZALEZ would engage in “grooming,” in which

  she would use her position as a Supervisor and Plaintiff NIEVES’s disability to force him into a

  non-consensual sexual relationship.

          22.        Defendants were on notice since 2012 that Supervisor GONZALEZ engaged in

  offensive sexual harassment of her subordinates.

          23.        Specifically, Supervisor GONZALEZ’s offensive conduct was severe and

  pervasive enough to create an objectively hostile and/or abusive work environment for Plaintiff

  NIEVES at MIDO. Specifically, the offensive conduct included but was not limited to the

  following:

          24.        On or about July 27, 2016, Supervisor GONZALEZ sexual advances toward

  Plaintiff NIEVES. Plaintiff NIEVES communicated his opposition to Supervisor GONZALEZ’s.

  Specifically, Plaintiff told Supervisor GONZALEZ that he was working to fix his marriage.

          25.        From July of 2016 to January of 2018, Plaintiff NIEVES continuously reprised his

  opposition to Supervisor Gonzalez, as her flirtatious behavior and advances were ongoing and

  never ending. Specifically, Supervisor Gonzalez’s flirtatious behavior and advances included, but

  were not limited to:

                 a. On August 31, 2016, Supervisor GONZALEZ leaned towards Plaintiff to

                       “parade” her breasts and touched his knee in a sexual manner.

                 b. On or about September 21, 2016, Supervisor GONZALEZ touched her breasts

                       and told Plaintiff “this is a new bra; do you like it?”

                 c. On or about November 2, 2016, Supervisor GONZALEZ told Plaintiff “a lot


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                       of woman would be interested in young professionals, such as you, I would be

                       interested”

                 d. On or about December 14, 2016, Supervisor Gonzalez entered Plaintiff’s

                       office, closed the door, and leaned towards Plaintiff, brushing her breasts

                       against Plaintiff’s shoulder, under the pretense that she was attempting to look

                       at his computer screen.

                 e. On or about February 1, 2017, Supervisor Gonzalez entered Plaintiff’s office,

                       closed the door, sat in front of Plaintiff, and stared at him, while fixing her bra

                       or shirt cleavage.

                 f.    On or about, March 8, 2017, Supervisor Gonzalez told Plaintiff, “you do such

                       a great job analyzing cases, why is that you can’t understand that your

                       marriage is over.”

                 g. On or about April 5, 2017, Supervisor GONZALEZ raised her eyebrows and

                       point her chest forward toward Plaintiff, and the proceeded to enter Plaintiff’s

                       office during work hours to discuss sexual matters, knowing that such

                       conversations were unwanted by Plaintiff.

                 h. On or about May 20, 2017, Plaintiff was forced to change his number as

                       Supervisor GONZALEZ repeatedly ignored Plaintiff’s request to stop calling

                       and texting, as such communications were creating issues between Plaintiff

                       and his wife.

                 i.    On or about May 24, 2017, when Supervisor GONZALEZ wore a low cut top

                       exposing her breasts, she told Plaintiff not to be a “pussy,” which was an

                       insinuation that Plaintiff should engage in an extramarital affair with her.


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                 j.    On or about June 21, 2017, shortly after Plaintiff changed his phone number

                       to avoid Supervisor Gonzalez’s messages, Supervisor GONZALEZ began to

                       constantly message Plaintiff via Offer Up after discovering that he was selling

                       an item on Offer Up. Specifically, Supervisor GONZALEZ would message

                       Plaintiff on Offer Up, saying:

                               •     “you still have an offer from me.”

                               •     “what are you doing tonight”

                               •     “let’s hang”

                               •     “what are you doing this weekend”

                 k. On or about July 26, 2017, Supervisor Gonzalez entered Plaintiff’s office,

                       closed the door, and leaned towards Plaintiff, brushing her breasts against

                       Plaintiff’s shoulder, under the pretense that she was attempting to look at his

                       computer screen.

                 l.    On or about August 30, 2017, Supervisor Gonzalez asked Plaintiff “is your

                       marriage done yet?”, as well as telling Plaintiff he is a “go getter” and should

                       be with an ambitious woman like herself and unlike his wife.

                 m. On or about September 25, 2017, Supervisor Gonzalez told Plaintiff that he

                       was cranky because his wife did not “give him any” and she has had affairs

                       and that everything was fine, and asked Plaintiff if he thought about cheating

                       on his wife.

                 n. On or about October 11, 2017, Supervisor Gonzalez entered Plaintiff’s office,

                       closed the door, and leaned towards Plaintiff, brushing her breasts against

                       Plaintiff’s shoulder, and called him a pussy, saying “this was Miami everyone


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                       gets divorced.

                 o. On or about October 31, 2017, Supervisor GONZALEZ, attempted to perform

                       oral sex on Plaintiff, while Plaintiff drove her home from a Halloween party

                       at a co-worker’s house.

          26.          Plaintiff NIEVES, on a weekly basis, complained about Supervisor

  GONZALEZ’S behavior to various levels of management to no avail.

                 a. On or about November 16, 2016, Plaintiff made an informal complaint to

                       Rosemary Caddle related to Supervisor Gonzalez’s repeated harassment as set

                       forth in paragraphs 26 (a)-(o).

                 b. On or about December 7, 2016, Plaintiff made an informal complaint to Nitza

                       Wright and to Mercedes Ricardo related to Supervisor Gonzalez’s repeated

                       harassment as set forth in paragraphs 26 (a)-(o).On or about March 2, 2017,

                       Plaintiff filed his formal complaint with an EEO Counsel regarding

                       harassment and retaliation by MIDO management.

                 c. On or about April 11, 2018, Plaintiff sent a memo to Director Farrell, detailing

                       harassment that he and other MIDO employees had been subjected to by

                       MIDO management and Supervisor Gonzalez.

          27.          At the time, Plaintiff NIEVES’s who has been diagnosed PTSD was “vulnerable”

  and utilized poor coping mechanisms (e.g., required new medications for anxiety and for sleep and

  began attending more medical appointments) when Supervisor GONZALEZ was harassing him.

          28.          Supervisor GONZALEZ’s harassment exacerbated Plaintiff NIEVES’s pre-

  existing condition of PTSD. Specifically, Plaintiff’s mental health deteriorated, his anxiety

  increased significantly, he began hearing voices, and he became very paranoid.


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          29.          From July 2016 to January 2017 Plaintiff’s disability impairment rating increased

  from 70% to 100%, as a result of the constant harassment he was subjected to.

          30.          In January of 2017, as a result of Plaintiff’s PTSD being exacerbated, Plaintiff was

  prescribed strong medications to manage his PTSD and anxiety.

          31.          Supervisor GONZALEZ was aware of Plaintiff NIEVES’s PTSD and used her

  knowledge of the symptoms of his condition to trigger him. Supervisor GONZALEZ would play

  “head games” with Plaintiff NIEVES

          32.          Plaintiff NIEVES’s accepted the fact that if he did not “go along” with Supervisor

  GONZALEZ’s unwanted conduct, she would make his life difficult. Specifically, Plaintiff was

  deterred from making complaints against Supervisor GONZALEZ, as his complaints were ignored

  and subjected him to retaliation from Supervisor GONZALEZ.

          33.          From July of 2016 to January of 2018, Plaintiff NIEVES was negatively affected

  as result of rejecting Supervisor GONZALEZ’s advances and unwanted conduct

                 a. Supervisor GONZALEZ repeatedly threatened Plaintiff with being written

                       up for insubordination whenever Plaintiff rejected her advances. Plaintiff

                       initially received such threat on or about July 31, 2016, however, the

                       threats continued on a weekly basis until January of 2018.

                 b. On or about October 20, 2016, Supervisor Gonzalez denied Plaintiff a cash

                       award for the 2016 fiscal year, while awarding other who were less

                       deserving

                 c. On or about October 12, 2017, Supervisor GONZALEZ placed Plaintiff

                       on intake for almost eight consecutive weeks.

                 d. On or about November 3, 2017, Supervisor GONZALEZ unequally and

                       preferentially distributed workload to Plaintiff, assigning him with less C
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                        processed charges in comparison to others, as well as assigning Plaintiff

                        charges to write as cause, despite having already determined as cause.

                  e. After November 3, 2017, Plaintiff was shut out by coworkers as they

                        stopped interacting with him upon Supervisor GONZALEZ’s request.

                  f.    Plaintiff’s PTSD was exacerbated by 30 percentage points

                  g. Plaintiff’s          marriage        progressively          deteriorated,         amid       Supervisor

                        Gonzalez’ constant late-night calls and text

                                                                  B. Retaliation
           34.          Plaintiff NIEVES did not solicit or incite the conduct and, instead, informed

   Supervisor GONZALEZ that said conduct was unwelcomed, undesirable and offensive, during

   Plaintiff’s first week on the job, and on an ongoing basis throughout his employment at MIDO.

           35.          Plaintiff NIEVES was retaliated against by Supervisor GONZALEZ due to his

   association with. Robert Tom, Mario Hernandez, and Jose De La Rosa, and because of his

   participation in a protected activity when he met with OEO Director Erica White-Dunston on or

   about October 3, 2017.

           36.          Plaintiff NIEVES was retaliated against by Supervisor GONZALEZ when he

   engaged in protected activity by rejecting and opposing her advances to engage in sexual activity

   in the office, which include but are not limited to the following occasions:

                  a. On or about July 27, 2016, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  b. On or about August 31, 2016, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  c. On or about September 21, 2016, Supervisor GONZALEZ threatened Plaintiff

                        with being written up for insubordination when Plaintiff rejected her advances.

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                  d. On or about November 2, 2016, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  e. On or about December 14, 2016, Supervisor GONZALEZ threatened Plaintiff

                        with being written up for insubordination when Plaintiff rejected her advances.

                  f.    On or about February 1, 2017, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  g. On or about March 8, 2017, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  h. On or about April 5, 2017, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  i.    On or about May 24, 2017, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  j.    On or about July 26, 2017, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  k. On or about August 30, 2017, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  l.    On or about October 11, 2017, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  m. On or about October 31, 2017, Supervisor GONZALEZ threatened Plaintiff with

                        being written up for insubordination when Plaintiff rejected her advances.

                  n. On or about Supervisor GONZALEZ repeatedly threatened Plaintiff with being

                        written up for insubordination whenever Plaintiff rejected her advances.

           37.          Moreover, Supervisor GONZALEZ retaliatory actions included, but were not


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   limited to:

                  a. Beginning on or about July 31, 2016, Supervisor GONZALEZ would overly

                        scrutinize Plaintiff NIEVES’s work.

                  b. Supervisor GONZALEZ informed other employees of the claim Plaintiff

                        filed against her on November 3, 2017, and instructed staff not to speak with

                        Plaintiff because of his complaint.

                  c. On or about October 27, 2016, Supervisor Gonzalez denied Plaintiff a cash award

                        for the 2016 fiscal year, while another awarding other who were less deserving

                  d. On or about November 16, 2016, Supervisor GONZALEZ, belittled and

                        ridiculed Plaintiff NIEVES in public, during weekly meetings and on Novell

                        Messenger, saying to others, “[t]his is what I have to deal with every day” and

                        “[d]on’t listen to this guy, he doesn’t not know what he is talking about.”

                  e. On or about April 19, 2017, Supervisor Gonzalez would told coworkers that

                        Plaintiff had issues and was crazy.

                  f.    On or about October 18, 2017, Supervisor GONZALEZ placed Plaintiff on intake

                        for almost eight consecutive weeks.

                  g. On November 15, 2017, Supervisor GONZALEZ unequally and

                        preferentially distributed workload to Plaintiff, assigning him with less C

                        processed charges in comparison to others.

                  h. Specifically, Supervisor GONZALEZ, on November 3, 2017, without

                        Plaintiff NIEVES’s permission posted a picture of him on Facebook. It was

                        common knowledge in the office that he did not like social media or pictures

                        of him being taken. However, Supervisor GONZALEZ uploaded a picture


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                        giving the appearance that Plaintiff NIEVES was drinking an alcoholic

                        beverage rather than a Coca Cola.

           38.          Plaintiff NIEVES interpreted Supervisor GONZALEZ’s behavior as punishment

   for refusing her unwelcomed conduct as set forth in paragraphs 36 (a) –(n).

           39.          Plaintiff NIEVES also informed MIDO Director Michael Farrell (“Director

   Farrell”) of Supervisor GONZALEZ’s unwelcomed conduct and those said actions triggered his

   PTSD. Plaintiff, initially informed Director Farrell when he engaged in protected activity by

   initiating EEO contact on or about November 3, 2017.

           40.          Again, on April 11, 2018, Plaintiff sent an email to Director Farrell detailing the

   harassing and retaliatory conduct that he was subjected to by MIDO management, which included

   but was not limited to the conduct set forth in paragraph 36 (a) – (n) and paragraph 37 (a) – (h).

           41.          On April 11, 2018, Director Farrell communicated to Plaintiff that the situation

   with Supervisor GONZALEZ preceded him, and Agency Headquarters was aware of the matter.

           42.          During Plaintiff’s employment, management protected Supervisor GONZALEZ

   and allowed her to continue to use her power and influence in the MIDO to harass, coerce, and

   abuse Plaintiff. Nevertheless, MIDO management knowingly allowed Supervisor GONZALEZ’s

   conduct to continue and did nothing to remedy or stop the situation.

           43.          Director Farrell and MIDO management’s response to the harassment was neither

   immediate nor appropriate. MIDO management failed to take any action to investigate the

   harassment for approximately four years while rumors/reports were circulating by MIDO’s staff

   about Supervisor GONZALEZ’s inappropriate and unwanted sexual behavior in the office.

           44.        Director Farrell was aware of Supervisor GONZALEZ’s sexual advances to

   subordinates in the past, and he opted to ignore them and protect Supervisor GONZALEZ.


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           45.        In fact, MIDO management was aware of Supervisor GONZALEZ’s harassing

   conduct toward MIDO employess, in general, since 2012 and refused to act to end same.

           46.        Plaintiff NIEVES on or about April 11, 2018, sent Director Farrell an email,

   detailing the harassment and retaliation he had been subjected to.

           47.          Director Farrell did not Plaintiff’s allegations of sexual harassment and retaliation

   seriously. In fact, on or about April 11, 2018, Director Farrell’s response to Plaintiff’s complaints,

   was to accuse Plaintiff of attempting to “set up” Supervisor Gonzalez

           48.          Throughout the entirety of Plaintiff’s employment at MIDO, Defendants were

   aware of Supervisor GONZALEZ’s on going sexual harassment of Plaintiff NIEVES, and other

   male employees, as well as MIDO management’s retaliatory conduct related to same, but took

   no action to stop it or prevent it from occurring.

           49.          From 2016 Plaintiff NIEVES informed Supervisor Wright, Supervisor Caddle,

   and Supervisor Ricardo, Director Farrell and the EEO about Supervisor GONZALEZ’s conduct,

   but nothing was done to stop her behavior or to protect Plaintiff NIEVES and other similar situated

   male employees from her.

           50.          Specifically, Plaintiff NIEVES initially made an informal complaint to Ms.

   Caddle in November of 2016. In addition, Plaintiff made an informal complaint to Ms. Riccardo

   and Ms. Wright in December of 2016.

           51.          Notwithstanding repeated and continuing complaints about the sexually harassing

   comments and conduct of Supervisor GONZALEZ, Supervisor GONZALEZ continued to

   sexually harass Plaintiff NIEVES and other male employees.

           52.          MIDO management began retaliating against Plaintiff NIEVES, after he engaged

   in protected activity by participating in an interview with OEO Director Erica White Dunston on


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   October 13, 2017, with regard to Robert Tom’s EEO complaint.

           53.          MIDO management intensified their retaliation against Plaintiff, when he

   contacted an EEO counselor with complaints of discrimination by MIDO management and

   Supervisor Gonzalez on or about November 3, 2017.

           54.          MIDO management retaliated against Plaintiff NIEVES because, on a weekly

   basis, he repeatedly objected, reported and opposed Supervisor GONZALEZ’s sexually

   inappropriate comments and conduct.

           55.          Plaintiff NIEVES was subjected to retaliation from Director Farrell and MIDO

   management after Plaintiff NIEVES engaged in protected activity by meeting with OEO Director

   Erica White Dunston on October 13, 2017, to discuss Supervisor Gonzalez’s harassing and

   retaliatory conduct toward himself and other MIDO employees, initiating contact with an EEO

   counselor on or about October 13, 2017, and for filing a formal EEOC complaint on or about

   March 2, 2017

                  a. Specifically, Plaintiff had minimal pending intake mail inventory on or about

                        September 22, 2017, but was assigned 37 cases and had processed 12, by on or

                        about November 6, 2017.

                  b. On or about November 6, 2017, MIDO management began assigning

                        Plaintiff NIEVES with a tougher and more complex case load to negatively

                        impact the total number of charges he could complete over the course of a

                        fiscal year

                  c. On or about November 6, 2017, MIDO management began manipulating

                        Plaintiff NIEVES’s case load. Specifically, files related to cases Plaintiff’s

                        cases completed were deleted.


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                  d. On or about January 29, 2018, Plaintiff was disciplined by Mercedes

                        Riccardo, without any legitimate reason, for issues related to Plaintiff’s time,

                        attendance, and alleged insubordination. Additionally, Mercedes Riccardo

                        threatened Plaintiff Nieves with being placed on a Performance

                        Improvement Plan (PIP) without a legitimate reason.

                  e. On or about June 21, 2018, MIDO management denied Plaintiff NIEVES the

                        benefit of telework on a third day.

                  f.    On or about February 20, 2018, MIDO management denied Plaintiff’s leave

                        requests and marked Plaintiff as AWOL, despite Plaintiff being good

                        producer.

                  g. Beginning on or about April 11, 2018, to the end of Plaintiff’s employment,

                        Director Farrell, on a weekly basis, shamed, questioned, doubted and

                        threatened Plaintiff for voicing complaints that Supervisor GONZALEZ had

                        subjected Plaintiff to egregious sexual harassment.

                  h. On or about April 11, 2018, Director Farrell ignored Plaintiff’s complaints

                        related to being subjected to harassment and retaliation by Supervisor

                        Gonzalez and MIDO management, but accepted false allegations that

                        Plaintiff was stealing time.

                  i.    On or about April 11, 2018, during a meeting in front of Plaintiff’s coworker

                        Michael Bethea, Director Farrell accused Plaintiff of attempting to “set up”

                        Supervisor Gonzalez. Additionally, Director Farrell threatened to terminate

                        Plaintiff’s employment on the basis that Plaintiff was lying.

                  j.    On or about August 1, 2018, Plaintiff Nieves was formally denied a transfer


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                        to Memphis office.

                  k. On or about September 5, 2018, Plaintiff Nieves was denied a step increase

                        and performance evaluation.

                  l.    MIDO management failed/refused assign Plaintiff to a supervisor from

                        September 5, 2018, through March 19, 2019.

                  m. On or about March 14, 2018, Plaintiff NIEVES’s work schedule was

                        changed in retaliation for his repeated complaints about and objections to

                        Supervisor GONZALEZ’s sexual harassment. Specifically, Plaintiff was

                        asked to start coming in at 6am, instead of 9am. When Plaintiff requested

                        accommodations because his PTSD/anxiety medications made it very

                        difficult for him to begin work at 6 am, such accommodations were denied

                        without any explanation.

                  n. On or about, March 14, 2018Plaintiff NIEVES was assigned more than 20

                        old cases from a different unit-T-5, Supervisor Fernella Peters

                  o. On or about March 23, 2019, Director Farrell denied Plaintiff’s an

                        opportunity for overtime work, despite the fact that Plaintiff was a top

                        performer at the time.

                  p. On or about June 15, 2018, Plaintiff requested a lateral transfer to either the

                        Tampa or Memphis office. Director Farrell communicated to Plaintiff that a

                        transfer to the Memphis was not going to happen, that Plaintiff could apply

                        for a transfer to the Tampa office where Plaintiff would be demoted to GS-

                        7 investigator and be placed on a one (1) year probation.

                  q. On or about July 12, 2018, Director Farrell denied Plaintiff NIEVES’s


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                        transfer request to the Tampa office without being provided a reason for the

                        denial. Specifically, Director Farrell said to Plaintiff, “I won’t let you go.”

                  r.    On or about July 9, 2018, Nitza Wright denied Plaintiff’s promotion to a GS-

                        11.

                  s. On or about July 17, 2018, Plaintiff NIEVES’s transfer request to the

                        Memphis office was denied, without any reason for the denial.

                  t.    On or about July 3, 2019, Mercedes Riccardo threatened to use a firearm on

                        Plaintiff Nieves.

                  u. On or about July 16, 2019, Yolanda Owens, Enforcement Manager at

                        OCHCO, prohibited Plaintiff rom voicing complaints related Supervisor

                        Riccardo’s threats to use a firearm on Plaintiff.

                  v. On or about August 21, 2019, Director Farrell baselessly accused Plaintiff

                        of committing fraud against the United States government.

                  w. On or about July 24, 2019, Plaintiff was denied Plaintiff’s a promotion to a

                        GS-11.

           56.         Since 2016, despite being aware of Plaintiff NIEVES’s resistance to his

   supervisor’s sexual advances and unwarranted conduct, MIDO management, failed and/or

   refused to take immediate and reasonable actions to protect him from Supervisor

   GONZALEZ’s constant and multiple attempts to rebuff her offensive conduct.

           57.         MIDO management hindered Plaintiff NIEVES’s ability to advance his career

   within and outside the EEOC. Specifically, Plaintiff was denied performance appraisals,

   when he began working under Ms. Riccardo. Additionally, Plaintiff was denied a promotion

   in July of 2018 and July of 2019.


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           58.          As a result of the retaliation, Plaintiff NIEVES’s demeanor changed as became

   more withdrawn, less energetic, experienced difficulty concentrating. In addition, Plaintiff

   NIEVES suffered from loss of credibility and a damaged professional reputation. Plaintiff

   NIEVES’s work was overly scrutinized to the point that he second guessed his every move.

           59.          Prior engaging in EEO protected activity on or about October 17, 2017, and

   November 3, 2017, Plaintiff NIEVES was a good investigator with no documented record evidence

   that his performance was poor.

           60.          Plaintiff NIEVES earned less money as he was denied cash awards and

   promotions in July of 2018 and July of 2019.

           61.          Between 2017 and 2020, MIDO management attempted to constructively

   terminate Plaintiff by by continuously retaliating against Plaintiff Nieves, as set forth in paragraphs

   55 (a) – (w),for his repeated complaints and opposition to the sexual harassment to which he was

   subjected and his intention to take legal action for Defendant’s failure to redress his complaints.

           62.          On or about March 19, 2020, Plaintiff NIEVES was forced to medically retire as

   his health continued to deteriorate as result of the harassment and retaliation that he was subjected

   to by Supervisor Gonzalez and MIDO management.

           63.          The retaliation affected the terms and conditions of Plaintiff NIEVES’s

   employment as outlined above in specific detail.

           64.          Any remedial action taken by Defendants related to Plaintiff NIEVES’s, as well

   as other similar situated male employees, claims was never prompt or reasonably calculated to end

   the harassment.

           65.          Given the duration and nature of the conduct, it is apparent that Plaintiff NIEVES’s

   work environment was objectively hostile and that Plaintiff NIEVES subjectively believed the


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   environment was hostile and abusive.

           66.          Defendants’ actions from 2016 to March of 2020, would clearly deter a reasonable

   person from opposing discriminatory harassment.

           67.          As of the filing of this pleading, Supervisor GONZALEZ remains employed by

   Defendants.

           68.          As a result of the foregoing, Plaintiff NIEVES suffered damages.

                                                 CLAIMS FOR RELIEF

                                                       COUNT I
                                             (Harassment based on Sex)
                                         (Title VII of the Civil Rights Act of
                                          1964, U.S.C. §§ 2000(e), et. Seq.)
           69.          Plaintiff NIEVES incorporates by reference the allegations paragraphs 1-33.

           70.          Plaintiff NIEVES, a member of a protected class (male), brings this claim on his

   own behalf and on behalf of all similar situated male employees of MIDO.

           71.          On a continuing basis since at least 2016, Defendants were aware that Supervisor

   GONZALEZ, his direct supervisor, subjected Plaintiff NIEVES to unwelcome conduct related to

   his sex, male, including sexual advances, requests for favors, or other verbal or physical conduct

   of a sexual nature location in violation of 42 U.S.C. § 2000e-2(a) and 42 U.S.C. § 2000e-3(a).

   Specifically, Defendants were aware that Supervisor GONZALEZ subjected Plaintiff NIEVES to

   unwelcome conduct related to his sex as outlined in paragraphs 19 to 33, above.

           72.          The harassment and unlawful employment practices suffered by Plaintiff

   NIEVES, as set forth in paragraphs 19 through 33 were based on his sex, male.

           73.          The effect of the harassment and unlawful employment practices complained of

   in paragraphs 19 through 33 above was sufficiently severe and pervasive and had the purpose and

   effect of unreasonably interfering with the work environment and/or creating an intimidating,


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   hostile or offensive work environment.

           74.          The effect of the harassment and unlawful employment practices complained of

   in paragraphs 19 through 33 above has been to deprive Plaintiff since at least 2016 of equal

   employment opportunities and otherwise adversely impact their status as employees because of

   their sex, male.

           75.          The unlawful employment practices complained of in 19 through 33 above were

   intentional and caused Plaintiff NIEVES to suffer emotional distress, including but not limited to

   emotional pain, suffering, inconvenience, loss of enjoyment of life, humiliation and/or personal

   stress and mental and physical pain and suffering

           76.          The unlawful employment practices complained of in 19 through 33 above were

   intentional and caused Plaintiff NIEVES to lose earnings, compensation and income including,

   but not limited to, back-pay.

           77.          The unlawful employment practices complained of in 19 through 33 above were

   engaged in with malice or with reckless indifference to the federally protected rights of Plaintiff

   NIEVES.

           78.          The unlawful employment practices complained of in 19 through 33 above form

   the basis for imputing liability on Defendants as Defendants were aware of the harassment and

   unlawful employment practices since 2016 and failed to take any prompt and/or reasonable action

   to end the harassment.




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                                                 CLAIMS FOR RELIEF

                                                      COUNT II
                                               (Retaliation/Retaliatory
                                           Harassment) (Title VII of the
                                         Civil Rights Act of 1964, U.S.C. §§
                                                  2000(e), et. Seq.)

           79.          Plaintiff NIEVES incorporates by reference the allegations in paragraphs 1

   through 18 and paragraphs 34 through 68.

           80.          Plaintiff NIEVES, at all times material hereto, undertook protected conduct when

   he complained to Supervisor GONZALEZ and Defendants about the unwanted conduct as outlined

   in paragraphs 34 through 68.

           81.          As a result, thereof, Defendants took a material adverse action against Plaintiff

   NIEVES. Specifically, Defendants retaliated against Plaintiff NIEVES as outlined in 34 through

   68, above.

           82.          A causal nexus exists between Plaintiff NIEVES’s undertaking of the protected

   acvity and the material adverse action taken by Defendants against Plaintiff set forth in paragraphs

   34 through 68.

                                                 PRAYER FOR RELIEF

             Wherefore, the Plaintiff JUAN NIEVES respectfully requests that this Court:

              A.      Grant a permanent injunction enjoining Defendants, its officers, agents, servants,

   employees, attorneys, and all persons in active concert or participation with them, from subjecting

   male employees to unwelcome, sexually graphic and vulgar sexual harassment and retaliation for

   opposing such harassment.

             B.         Order Defendants to institute and carry out policies, practices, and programs which

    provide equal employment opportunities for male, and which eradicate the effects of its past and

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    present unlawful employment practices.

             C.         Order Defendants to make whole Plaintiff NIEVES by providing restitution and

    compensation for past and future pecuniary losses resulting from the unlawful employment

    practices described in paragraphs 19 through 68 above, in amounts to be determined at trial;

             D.         Order Defendants to make whole Plaintiff NIEVES by providing full restitution

    and compensation for past and future non-pecuniary losses resulting from the unlawful practices

    complained of in paragraphs 19 through 68 above, in amounts to be determined at trial;

             E.         Order Defendant full restitution or compensation for loss of personal and sick leave,

    and for all retirement benefits

             F.         Order Defendants to pay Plaintiff NIEVES punitive damages for its malicious and

    reckless conduct described in 19 through 68 above, in amounts to be determined at trial;

             G.         Order Defendants to pay Plaintiff for any benefits including, but not limited to,

    sick leave, annual leave, or leave without pay taken as a result of the alleged discriminatory or

    retaliatory harassment.

             H.         Order Defendants to remove any documentation concerning the leave restriction

    from Plaintiff’s personnel records.

             I.         Order Defendants to remove any documentation concerning Plaintiff NIEVES’s

    current PIP or references thereto from Plaintiff’s personnel file.

             J.         Order Defendants to consider taking disciplinary action against Supervisor

    GONZALEZ. In determining the appropriate disciplinary action, the Agency must consider

    Supervisor GONZALEZ egregious misconduct and 29 CFR 1604 (EEOC’s Zero Tolerance

    Policy).

             K.         Award Plaintiff his costs of bringing this action, including reasonable attorneys’


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    fees under 42 U.S.C.A. § 2000e-5; Fla. Stat. § 760.11 (2004); and 42 U.S.C.A. §§ 12203 and

    12205; and pre- judgment interest.

             L.         Order Defendant to pay interest at the legal rate on such damages as appropriate,

    including pre- and post-judgment interest.

             M.         Grant such further relief as the Court deems necessary and proper in the public’s

    interest.

                                               DEMAND FOR JURY TRIAL
             Pursuant to Federal Rule 38(b), trial by jury on all issues presented herein is respectfully

    demanded.

   Dated: July 15, 2022

                                                                                 /s/ David M Fraguio
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                                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been

   electronically filed using the online CM/ECF Filing on this 15th day of July 2022 Defendants’

   counsel Karin D. Wherry, ASSISTANT U.S. ATTORNEY, 99 N.E. 4th Street, 3rd Floor Miami,

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                                                                                /s/ David M Fraguio____
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